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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                    Case Number 4:01cr3105
                                                      U.S. M. Number: 16930-047
LASALLE D. PREWITT
                 Defendant
                                                      Ronald L. Hill
                                                      Defendant’s Attorney
___________________________________

                      AMENDED JUDGMENT IN A CRIMINAL CASE
               ON MOTION OF THE GOVERNMENT AFTER INITIAL SENTENCING
                      (For Offenses Committed On or After November 1, 1987)

Date of Original Judgment: 11/19/02
(Or Date of Last Amended Judgment)

Reason for Amendment:
      Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b))

THE DEFENDANT pleaded guilty to count I of the Indictment.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                        Date Offense                Count
    Title & Section         Nature of Offense            Concluded                Number(s)


 21 USC 846               Conspiracy to distribute     June 19, 2001                  I
                          and possess with intent
                          to distribute cocaine
                          base

      The defendant is sentenced as provided in pages 2 through 5 of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant shall notify the court and United States attorney of any material change
in the defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                                    May 13, 2005


                                                             s/ Richard G. Kopf

                                                            UNITED STATES DISTRICT JUDGE

                                                                             May 13, 2005
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                                      IMPRISONMENT

        The defendant’s sentence of imprisonment is reduced from the original sentence to a term
of thirty (30) months.

      The Court makes the following recommendations in the strongest possible terms to the
Bureau of Prisons:

1.     The Court recommends that the defendant participate in the 500-hour Intensive Drug
       Treatment Program or any similar drug treatment program available.

2.     If not released immediately, that the defendant be removed from FCI-Forest City, Arkansas
       and be placed in a camp-like facility for his safety.

                            ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                          _____________________________
                                                                  Signature of Defendant

                                            RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of
_______________, _____ to _________________________________, with a certified copy of
this judgment.

                                                    __________________________________
                                                            UNITED STATES WARDEN


                                                 By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt , above.

                                       CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day
of _______________, ______

                                                    __________________________________
                                                            UNITED STATES WARDEN


                                                 By:__________________________________
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                                   SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term
of five (5) years.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

        If this judgment imposes a fine or a restitution obligation, it shall be a condition of
supervised release that the defendant pay any such fine or restitution that remains unpaid at the
commencement of the term of supervised release in accordance with the Schedule of Payments
set forth in the Criminal Monetary Penalties sheet of this judgment.

        The defendant shall comply with the standard conditions that have been adopted by this
court (set forth below). The defendant shall also comply with any additional conditions.

                       STANDARD CONDITIONS OF SUPERVISION

1.     The defendant shall not leave the judicial district without the permission of the court or
       probation officer;
2.     The defendant shall report to the probation officer and shall submit a truthful and complete
       written report within the first five days of each month;
3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the
       instructions of the probation officer;
4.     The defendant shall support his or her dependents and meet other family responsibilities;
5.     The defendant shall work regularly at a lawful occupation, unless excused by the probation
       officer for schooling, training, or other acceptable reasons;
6.     The defendant shall notify the probation officer at least ten days prior to any change in
       residence or employment;
7.     The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
       use, distribute, or administer any controlled substance or any paraphernalia related to any
       controlled substances, except as prescribed by a physician;
8.     The defendant shall not frequent places where controlled substances are illegally sold,
       used, distributed, or administered;
9.     The defendant shall not associate with any persons engaged in criminal activity and shall
       not associate with any person convicted of a felony, unless granted permission to do so
       by the probation officer;
10.    The defendant shall permit a probation officer to visit him or her at any time at home or
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       elsewhere and shall permit confiscation of any contraband observed in plain view of the
       probation officer;
11.    The defendant shall notify the probation officer within seventy-two hours of being arrested
       or questioned by a law enforcement officer;
12.    The defendant shall not enter into any agreement to act as an informer or a special agent
       of a law enforcement agency without the permission of the court;
13.    As directed by the probation officer, the defendant shall notify third parties of risks that
       may be occasioned by the defendant’s criminal record or personal history or characteristics
       and shall permit the probation officer to make such notifications and to confirm the
       defendant’s compliance with such notification requirement.



                            SPECIAL CONDITIONS OF SUPERVISION


1.     Paragraph # 7 of the Standard Conditions of Supervision is modified, i.e., instead of merely
       refraining from excessive use of alcohol, the defendant shall not purchase or possess, use, distribute
       or administer any alcohol, just the same as any other narcotic or controlled substance.

2.     Defendant shall be subject to the search of the defendant’s premises, vehicle or person, day or
       night, with or without a warrant, at the request of the U.S. Probation Officer to determine the
       presence of alcohol and/or controlled substances, firearms or any other contraband. Any such items
       found may be seized by the U.S. Probation Officer. This condition may be invoked with or without
       the cooperation of law enforcement officers.

3.     The defendant shall attend, pay for and successfully complete any diagnostic evaluation, treatment
       or counseling program, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
       substance abuse, as directed by the U.S. Probation Officer.

4.     Defendant shall provide the U.S. Probation Officer with access to any requested financial
       information.

5.     Defendant shall participate in the District of Nebraska Victim Awareness Program as directed by the
       U. S. Probation Officer.

6.     Pursuant to 18 U.S.C. § 3583 (d), defendant shall submit to a drug test within fifteen (15) days of
       release on Supervised Release and at least two (2) periodic drug tests thereafter to determine
       whether the defendant is using a controlled substance. Further, defendant shall submit to such
       testing as requested by any U.S. Probation Officer to detect the presence of alcohol or controlled
       substances in the defendant’s body fluids and to determine whether the defendant has used any of
       those substances. Defendant shall pay for the collection of urine samples to be tested for the
       presence of alcohol and/or controlled substances.

7.     Defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
       Nebraska between the hours of 8:00 am and 4:30 pm, 100 Centennial Mall North, 530 U.S.
       Courthouse, Lincoln, Nebraska, (402) 437-5223, within seventy-two (72) hours of release from
       confinement.
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                               CRIMINAL MONETARY PENALTIES

       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                         Total Fine                 Total Restitution

         $100.00 (PAID)

                                                   FINE

        No fine imposed.

                                             RESTITUTION

        No Restitution was ordered.


                                    SCHEDULE OF PAYMENTS

        Having assessed the defendant’s ability to pay; payment of the total criminal monetary
penalties shall be due as follows:

        Defendant has paid the special assessment in the amount of $100, Receipt #L403926.

         Unless the court has expressly ordered otherwise in the special instruction above, if this
judgment imposes a period of imprisonment, payment of criminal monetary penalties shall be due
during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the
clerk of the court, unless otherwise directed by the court, the probation officer or the United States
attorney.

      All financial penalty payments are to be made to the Clerk of Court for the District of
Nebraska, P.O. Box 83468, Lincoln, NE 68501.

      The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.

CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
